Dear Ms. Koury:
We are in receipt your letter dated March 1, 1995, in which you requested an opinion relative to whether the Governor should call an election for the recall of Dorothy Johnson, Alderwoman, Village of Natchez. After reviewing the enclosed additional information from Registrar of Voters, Deborah Waskom, it is our opinion that the Governor should not issue a proclamation ordering an election for the purpose of voting on the question of the recall of Alderwoman Dorothy Johnson.
LSA-R.S. 18:1300.2(B) requires a recall petition to be signed by "not less than forty percent of said electors" where fewer than one thousand qualified electors reside in the voting area. The Registrar of Voters for Natchitoches Parish has certified that there were 315 electors in the Village of Natchez on February 14, 1995. The Registrar has further certified that there are a total of 119 signatures of qualified electors on the petition.
Since the petition does not contain the required number of signatures, which is 126, it is not necessary to review the petition to determine whether it meets the procedural requirements of LSA-R.S. 18:3 and LSA-R.S. 18:1300.1, et seq.
If we can be of further assistance in this matter, please advise.
Yours very truly,
                          RICHARD P. IEYOUB ATTORNEY GENERAL
                      BY: _______________________ SHERI MARCUS MORRIS Assistant Attorney General
SMM/lg